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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

SARA CALHOUN,                                    No. 3:15cv1358 (WWE)
         Plaintiff,

v.

ROBERT MURTHA and
CITY OF HARTFORD,
           Defendants.

                          RULING ON CITY OF HARTFORD’S
                         MOTION FOR SUMMARY JUDGMENT

       The genesis of this action is the arrest of plaintiff Sara Calhoun by defendant

Hartford Police Officer Robert Murtha. Against defendant Murtha, plaintiff alleges an

alleged violation of her constitutional right to be free from excessive force pursuant to 42

U.S.C. § 1983, and state law claims of false imprisonment, assault and battery,

negligent assault and battery, and negligent infliction of emotional distress. Against

defendant City of Hartford, plaintiff asserts claims pursuant to Connecticut General

Statutes § 7-465 and 7-101a for indemnification; and for damages caused by the

negligence of Murtha pursuant to Connecticut General Statutes § 52-557n. Plaintiff

alleges that she is entitled to compensatory and punitive damages from defendants.

       In a ruling dated May 4, 2018, this Court denied a motion for summary judgment

filed by defendant Murtha. Defendant City of Hartford has filed a motion for summary

judgment on plaintiff’s claims for indemnification and for damages based on Murtha’s

negligence. Defendant also seeks entry of summary judgment on the request for

punitive damages.

       Plaintiff does not contest that summary judgment should enter on her count

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alleging Section 7-101a as a direct cause of action for indemnification and her request

for punitive damages.

                                     BACKGROUND

       The parties have submitted statements of undisputed facts, exhibits and

supporting materials that reveal the following undisputed facts. The Court assumes

familiarity with the facts comprising the factual background of this Court’s prior ruling

dated May 4, 2017. The Court incorporates such factual background herein and adds

the following relevant facts.

       All police officers for the City of Hartford have received training while attending

the Police Training Academy prior to being sworn in as police officers. The training

curriculum satisfies the requirements of the State of Connecticut’s Police Officers

Standards Training Council (“POST”). The City of Hartford requires that its police

officers attend job-related training and continuing education. All police officers receive

training in the use of force, handcuffing, report writing, lawful arrests, probable cause

and search and seizure. This training is mandated and approved by POST. Training

required by POST is adequate and consistent with generally accepted police practices

on a local and national level.

       Defendant Murtha was appropriately trained in accordance with accepted police

practices on the use of less-lethal force, handcuffing procedure, search and seizures,

probable cause, laws of arrest and on all topics in which plaintiff’s expert has an

opinion. Defendant Murtha’s decision to arrest and handcuff plaintiff on August 24,

2013, was within his discretion.


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       In its prior ruling denying defendant Murtha’s motion for summary judgment, the

Court found that the question of whether the amount of force used was excessive or

objectively reasonable remained a question for the jury; that factual questions

concerning the circumstances of defendant Murtha’s use of force precluded entry of

summary judgment on the basis of qualified immunity; and that factual questions

concerning the circumstances of plaintiff’s arrest precluded entry of summary judgment

on her claims for false imprisonment, assault and battery, negligent assault and battery,

and negligent infliction of emotional distress. The Court noted that Municipal

employees enjoy qualified immunity from state law tort liability based on unintentional

conduct related to the performance of governmental or discretionary acts, but that a

reasonable jury could find that the instant plaintiff falls within the identifiable person,

imminent harm exception to discretionary act immunity.

                                        DISCUSSION

       A motion for summary judgment must be granted if the pleadings, discovery

materials before the court and any affidavits show that there is no genuine issue as to

any material fact and it is clear that the moving party is entitled to judgment as a matter

of law. Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

       A dispute regarding a material fact is genuine if there is sufficient evidence that a

reasonable jury could return a verdict for the nonmoving party. See Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986). The burden is on the moving party to

demonstrate the absence of any material factual issue genuinely in dispute. Am. Int’l

Group, Inc. v. London Am. Int’l Corp., 664 F.2d 348, 351 (2d Cir. 1981).


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       If a nonmoving party has failed to make a sufficient showing on an essential

element of her case with respect to which she has the burden of proof, then summary

judgment is appropriate. Celotex Corp., 477 U.S. at 323. If the nonmoving party

submits evidence which is “merely colorable,” legally sufficient opposition to the motion

for summary judgment is not met. Liberty Lobby, 477 U.S. at 24. The mere existence

of a scintilla of evidence in support of the nonmoving party’s position is insufficient;

there must be evidence on which the jury could reasonably find for her. See Dawson v.

County of Westchester, 373 F.3d 265, 272 (2d Cir. 2004).

       On summary judgment, the court resolves all ambiguities and draws all

permissible factual inferences in favor of the nonmoving party. See Patterson v.

County of Oneida, 375 F.3d 206, 218 (2d Cir. 2004). If there is any evidence in the

record from which a reasonable inference could be drawn in favor of the opposing party

on the issue on which summary judgment is sought, summary judgment is improper.

See Security Ins. Co. of Hartford v. Old Dominion Freight Line Inc., 391 F.3d 77, 83 (2d

Cir. 2004).

       Defendant argues that summary judgment should enter on plaintiff claims

pursuant to Sections 7-465 and 52-557n, because Officer Murtha’s conduct in arresting

and handcuffing plaintiff is protected by the law of governmental discretionary immunity.

Defendant asserts that plaintiff should not be entitled to the exception to the doctrine of

governmental immunity because she failed to plead such exception in her complaint.

However, the Court has already found that a reasonable jury could find that plaintiff was

entitled to the identifiable person-imminent harm exception to discretionary act or


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qualified immunity. Defendant’s contention that plaintiff was required to plead an

exception to discretionary or qualified immunity appears to be based on state law. The

Connecticut Rules of Civil Procedure require that a “[m]atter in avoidance of affirmative

allegation in an answer or counterclaim shall be specially pleaded in the reply.” Conn.

Rules § 10-57. By contrast, the Federal Rules of Civil Procedure do not require that

plaintiff file a reply. See Fed. R. Civ. Pro. 7(a). Accordingly, the Court will deny the

motion for summary judgment as to plaintiff’s claims pursuant to Sections 7-465 and 52-

557n.

                                         CONCLUSION

        For the foregoing reasons, the Motion for Summary Judgment [doc. #75] is

GRANTED in part, and DENIED in part. The Court GRANTS summary judgment on

the claim alleging Section 7-101a as a direct cause of action for indemnification and her

request for punitive damages; the Court DENIES summary judgment on the claims

pursuant to Sections 7-465 and 52-557n.

        Within 14 days of this ruling’s filing date, plaintiff is instructed to amend her

complaint consistent with this ruling.



        Dated this 17th day of January, 2018 at Bridgeport, Connecticut.



                              /s/Warren W. Eginton_________
                              Warren W. Eginton
                              Senior United States District Judge




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